                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

  UNITED STATES OF AMERICA                            )
                                                      )      Case No. 1:15-cr-00124-001
  v.                                                  )
                                                      )      Judge McDonough/Steger
  BILLY RAY WILSON                                    )

                                MEMORANDUM AND ORDER

          BILLY RAY WILSON (“Defendant”) came before the Court for an initial appearance on
  January 5, 2021, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the
  Petition for Warrant for Offender under Supervision (“Petition”) [Doc. 106].

          After being sworn in due form of law, Defendant was informed of his privilege against
  self-incrimination under the 5th Amendment and his right to counsel under the 6th Amendment to
  the United States Constitution.

          The Court determined Defendant wanted to be represented by an attorney and that he
  qualified for the appointment of an attorney to represent him at government expense.
  Consequently, the Court APPOINTED Attorney Myrlene Marsa of Federal Defender Services of
  Eastern Tennessee, Inc., to represent Defendant.

         Defendant was furnished with a copy of the Petition, and had an opportunity to review that
  document with his attorney. The Court determined that Defendant was able to read and understand
  the Petition with the assistance of his counsel. In addition, AUSA Kevin Brown explained to
  Defendant the specific charges contained in the Petition. Defendant acknowledged that he
  understood the charges in the Petition.

          The Government moved Defendant be detained pending disposition of the Petition or
  further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
  detention hearing and what those hearings entail. Defendant conferred with his counsel and
  waived the preliminary hearing; however, he requested a detention hearing which was scheduled
  on January 8, 2021. On that date, Defendant’s attorney, Myrlene Marsa, sent an email to the
  Court in which she stated, in relevant part, “Judge Steger, I’ve been able to talk to Mr. Wilson
  this morning, as well as the Probation Officer and the AUSA, and I believe that we have been
  able to reach a resolution. As such, Mr. Wilson desires to waive his bond hearing.” In response,
  the undersigned advised Attorney Marsa that the Court would cancel the hearing without the
  necessity of her filing a formal waiver. Consequently, the detention hearing was canceled.



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          The Court finds that probable cause exists to demonstrate that Defendant has committed
  violations of his conditions of supervised release, and that Defendant has not carried the burden of
  establishing by clear and convincing evidence that he will not flee or pose a danger to any other
  person or to the community. Consequently, the Court GRANTED the Government’s oral motion
  to detain Defendant pending disposition of the Petition or further Order of this Court.

         It is, therefore, ORDERED that:

             1. Counsel for Defendant and the Government shall confer and make best
                efforts to submit to the United States District Judge a proposed Agreed
                Order with respect to an appropriate disposition of the Petition for Warrant
                for Offender Under Supervision.

             2. In the event counsel are unable to reach agreement with respect to an
                appropriate disposition of the Petition for Warrant for Offender Under
                Supervision, they shall request a hearing before the United States District
                Judge.

             3. The Government’s motion that Defendant be DETAINED WITHOUT
                BAIL pending further Order of this Court is GRANTED.

         ENTER.


                                                /s/ Christopher H. Steger
                                                UNITED STATES MAGISTRATE JUDGE




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